     Case 2:11-cv-00084 Document 1228 Filed on 04/04/22 in TXSD Page 1 of 1

                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS


M.D., et al.

v.                                               Case Number: 2:11−cv−00084

Greg Abbott, et al.




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable Janis Graham Jack
PLACE:
               United States Courthouse
               1133 N. Shoreline Blvd.
               Corpus Christi, Texas 78401
DATE:          6/6/2022
TIME:          09:00 AM
TYPE OF PROCEEDING:               Status Conference



Date: April 4, 2022
                                                            Nathan Ochsner, Clerk
